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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF DELAWARE

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SHIVA STEIN,                                               :
                                                           :
                  Plaintiff,                               : Case No. 1:19-02361-MN
                                                           :
v.                                                         :
                                                           :
KEMET CORPORATION, FRANK G.                                :
BRANDENBERG, WILFRIED BACKES,                              :
GURMINDER S. BEDI, JACOB KOTZUBEI,                         :
WILLIAM LOWE, E. ERWIN MADDREY,                            :
II, YASUKO MATSUMOTO, ROBERT G.                            :
PAUL, AND KAREN M. ROGGE,                                  :
                                                           :
                  Defendants.                              :
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                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

         PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”) without prejudice. Defendants

have filed neither an answer nor a motion for summary judgment in the Action.

Dated: February 24, 2020                                    RIGRODSKY & LONG, P.A.

                                                       By: /s/ Brian D. Long
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